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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

ANTON CLIFFORD,                       )
an individual,                        )
                                      )
      Plaintiff,                      )
                                      )      CIVIL ACTION
v.                                    )
                                      )      FILE No. 1:22-cv-00820-JPB
STARS OIL INC.,                       )
A domestic corporation,               )
                                      )
      Defendant.                      )

     ORDER APPROVING CONSENT DECREE AND DISMISSAL OF
                DEFENDANT WITH PREJUDICE

      The Court, having read and reviewed the parties’ Joint Stipulation and the

Consent Decree attached to the Joint Stipulation as Exhibit A, and for good cause

shown, the Joint Stipulation for Approval of Consent Decree and to Dismiss with

Prejudice is GRANTED. The Court shall retain jurisdiction to enforce the Consent

Decree. Each party shall bear their own attorney’s fees and costs except as detailed

in the parties’ Consent Decree.

      SO ORDERED, this 6th day of October, 2022.


                                      ____________________________
                                      The Honorable J. P. Boulee
                                      United States District Judge
